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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 11/2/2020
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  NOXELL CORPORATION,                                             :
                                                                  :
                                                  Plaintiff,      :
                              -against-                           :        1:19-cv-11460-GHW
                                                                  :
  NEXT STEP GROUP INC., GMA                                       :            ORDER
  ACCESSORIES INC. d/b/a CAPELLI NEW                              :
  YORK, SARAMAX APPAREL GROUP INC., :
  HARMON GROUP, LLC, X VISION INC.,                               :
  ALLWINTEX GARMENT MANUFACTURING :
  CORP. LTD, and EARTHBOUND LLC,                                  :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
         As discussed on the record during the November 2, 2020 telephone conference, the parties

currently represented by counsel are directed to confer and submit a joint letter to the Court

describing (1) their respective positions on whether the deadlines in the case management plan and

scheduling order, Dkt. No. 63, should be extended, and (2) if yes, how long of an extension is

warranted. The parties are specifically directed to discuss how the addition of defendant X Vision,

Inc. affects the current discovery deadlines, and to contemplate how the addition of foreign

defendant Allwintex Garment Manufacturing Corp. Ltd., who has not yet been served, will affect

the process for resolving this case as a whole. The joint letter shall be submitted by no later than

November 9, 2020. The Court invites the parties to submit a written request for an extension of

time if needed.

         Plaintiff is directed to serve a copy of this order on all defendants not represented by counsel

and to retain proof of service.

         SO ORDERED.

 Dated: November 2, 2020                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
